UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK



JOHN C. BREITENBACH, JR, as Administrator
of the ESTATE OF DEBORAH J. BREITENBACH,

                            Plaintiff,            EXPERT WITNESS DISCLOSURES

                                                        1:16-CV-11
        -against-                                       (GLS/CFH)

THE UNITED STATES OF AMERICA,
NANCY A CAFFREY, RP.A-C, MOSES-LUDINGTON
HOSPITAL and INTER-LAKES HEALTH, INC.

                            Defendants



        Defendants, NANCY CAFFREY, R.P.A-C, MOSES-LUDINGTON HOSPITAL

and INTER-LAKES HEALTH INC., (hereinafter "answering defendants") by and through

their attorneys, NAPIERSKI, VANDENBURGH, NAPIERSKI & O'CONNOR, LLP, as

and for expert witness disclosure pursuant to FRCP 26(2)(b) state as follows:

  1.   Defendants expect to call at the time of trial Alan C. Heffner, MD as an expert witness

       in the field of Emergency Medicine. Dr. Heffner will give expert opinion testimony

       that the care and treatment of the plaintiff, Deborah Breitenbach, by defendants when

       she presented to the emergency department at Moses-Ludington Hospital on April

       21, 2014 met and/or exceeded the standard of care. Dr. Heffner will testify regarding

       the proper and appropriate standards of care and accepted medical practice which

       were in effect in the upstate New York area, State of New York and nationally for

       emergency medicine and the treatment of epiglottitis and airway issues in critical

       access hospitals at the time of the treatment of Deborah Breitenbach by the

       defendants. Dr. Heffner will testify regarding the interpretation and significance of

                                              1
       medical records, interpretation and significance of laboratory tests, imaging studies,

       and clinical examinations and procedures during all times at issue. Dr. Heffner is

       expected to comment on all of the medical records of the Deborah Breitenbach, as

       well as any exhibits marked in the deposition testimony, marked or introduced at trial

       and/or any demonstrative exhibits produced at trial. Dr. Heffner may comment on

       each of the depositions taken in this case as well as any trial testimony elicited by

       lay witnesses and/or experts. Dr. Heffner will provide opinions and comments with

       respect to the testimony of all expert witnesses and lay witnesses who are called

       upon to testify at the time of trial and will be prepared to refute the opinions which

       are offered by the Plaintiff's experts, either in Plaintiff's expert witness responses or

       in the trial testimony or affidavits. Dr. Heffner is will also testify regarding the issues

       of causation and damages. Dr. Heffner's expert witness report is attached hereto as

       Exhibit "A" and made a part hereof. All of Dr. Heffner's opinions are expected to be

       given to a reasonable degree of medical certainty. Dr. Heffner's CV and testimonial

       history is attached hereto as Exhibit "B" and made a part hereof.

  2.   Defendants expect to call Kevin R. Decker as an expert economist at the time of trial.

       Mr. Decker's expert witness report is attached hereto as Exhibit "C" and made a part

       hereof. Mr. Decker's CV and testimonial history is attached hereto as Exhibit "D" and

       made a part hereof.



                                    SUPPLEMENTATION


        Defendants reserve the right to supplement and/or amend these disclosures

subject to the depositions of the parties and further disclosures by plaintiff and/or

defendants. Defendant reserve the right to disclosure rebuttal experts in response to any

                                                2
further disclosures by the parties.




       Dated March 9, 2017


                                      NAPIERSKI, VANDENBURGH &
                                      O'CONNOR, LLP.

                                            //   j   ,,,-;:7   ,, '
                                      BY:~-,--~~- / .. -·
                                             SHAWN F. BROUSSEAU
                                      Bar Roll No. 509138
                                      Attorneys for Defendants
                                      NANCY CAFFREY, R.P.A.-C, MOSES-
                                      LUDINGTON HOSPITAL and INTER-LAKES
                                      HEALTH INC.
                                      296 Washington Avenue Ext.
                                      STE3
                                      Albany, NY 12203
                                      Phone: (518) 862-9292
                                      Email: sfb@nvnolaw.com




                                        3
EXHIBIT A
                                        Alan C. Heffner,
                                                           I


5 March 2017                                               I
                                                           I
Shawn F. Brousseau                                         !
Napierski, VanDenburgh, Napierski & O'Connnr, LLP I
296 Washington Avenue Extension, Suite 3          1
Albany, NY 12203                                           I
                                                           ~
Re:     Written report of expert opinion by Alan C. Heffner, MD
        Case Claim No.: 30722822, NVNO File No,: 0?779
                                                           I
Dear Mr. ~rnusseau,        I        ·                      I     . .
Per our pnor agreement, J <'ljm engaged by the law firm ofNap1ersk1, VanDcnburgh a d Na
LLP of Albany, NY to revjew records and render an ~pinion on the care in the ca of
Breitenbach, Jr as Admin~strator of the estate of Drlborah Breite.nbach (herein ferre to as
                                                   1
                                                           r.
patient) v. Nancy A. Caffrey, RPA-C, Moses-Ludingto Hos pital and Inter-Lakes H alth,               c. To
that end, 1 have reviewed the following materials:
        Medical records from Moses-Ludington Hospii¥ll
        Medical records frqm Lamoille Ambulance Se1fvh.ie
        Med.lea! records f rom .Fletcher Allen Healt . Care (University of Vern nt
Center, Burlington , VT)
      . Medical records from Hudson Headwaters
        Plaintiffs Second ,~mended Complaint
        Plaintiff's expert witness disclosure

My qual ifications for this review include the practic~ of emergency medicine an             criti l ca re
medicine ll1,l<l specia_l interes~ and_ experi~nce in ef,ergency ~i~ay managem               nt _(s . C V
enclosed). Expert review ri),te for this work ts $300 pe · hour and $.;i:,00 per day of      estnn my. A
description of expert testiplony over the preceding our years is e.nclosed. I ce             i-fy · at my
opinin-os have never been [disqualified in coun and have not been found gull                  of - ud or
perjury in any j urisdictiou. IAlJ opinions contained .in t is report are stated to a reas    able egree
of medical certainty.         '

Case c hronology
The patient is a 60-year-old female with hypertension nd hypercholeste.rolemia wb. pres 1ted to
Moses Ludington Hospital ~mcrgency Department at 8:55 on 4/21/201 4 with chieJ ·omp aint of
"aspirin stuck in throat" . ·

She was evaluated by Nancy A. Caffrey, RPA-C at O :05 who performed a history nd                   ysical
                                                                                   rynx voice
exam . Documentati.on dctaHs absence of respiratory s ·mptoms or signs, normal p              .
                                                                                              '
and swallowing, and no cetvica1 adenopathy or distres . The patient was discharged t 09: l w1th
the diagnosis of esophage*l foreign body .~ensation llowing patient education a d fol ow up
instructions.

The patient returned (O Tieonderoga Health Clinic at 18;47 with chief complaint f sor throat
and headache. She reported throat pain and swelling :w ith difficulty breathi.ng an swal wing>
                            .                              I
                                                           l




                                                           f
and endorsed fever and cliills. Exam was notable fo moderate distress, tachyca                     tdible
stridnr, !eft face and neck s~elling, and difficulty breai:!{ing. No treatment was provi
                                                          !

n1c patient was referred to;.· the Moses Ludington Emetgency Department aml arriv           by rivatc
vehicle at 19:41 where she was evaluated by Nancy l\. Caffrey, RPA-C. Chief c               plai twas
"worsening sore throat and'. hoarseness". lnitial exam 'fv'as notable ftw ill appearanc     hoa e and
muffled voice, and tender neck swelling. Epiglottitis ~vas suspected and diagnosti stud s and
treatment were initiated for'.this disease.             ;
                             :                          j
The case was discussed with an otolaryngology speci$.list (ENT) Dr. Hubbell, whi h dis ·ned a
plan for immediate transferito Fletcher Allen Health C31'e.
                                                          I
Serial evaluations identifi~d deteriorating status, rn~rked by stridor and incrca ed 'v\            rk of
breathing. Transfer withoi.tt airway management w~s deemed dangerous and                    s.     affrey
contacted Dr, Toni Sturm [who evaluated the patient fl 20:45 and discussed the se                  th Dr.
Hubbell. They agreed on tlie priority to secure the pati(jnt's airway prior to inter-foci ty tra    sport.
                        .                        ;
An airway management p!*n was devised and discuss~d prior to intervention whic com 1cnced
at approximately 21108.                          ·

Awake anesthetized visualization of the airway Wf18 complicated and the pati               m e ibited
continued deterioration. R,iapid sequence induction was perfonned. Visualizatim             unde these
conditions was also complicated and attempted intuba)ion resulted in esophageal ii         ubati n, that
was immediately recognized. Rescue needle cricptbyrotomy failed to prov                    e a equate
ventilation. Open surgical cricothyrotomy was un9ertaken with difiicult plac nent of the
endotracheal tube.                               I
The patient deteriorated to cardiac arrest during attenjpts to secure the airway. Ult natel , open
surgical cricothyrotomy wiis successful via passage     ofa 3~0 endotracheal tube. Tt · pati nt was
resuscitated from cardiac arrest.                       '

 Post Intubation rnanagcmem provided by Ivls. Caffifcv and Dr. Sturm included secur ng the
 airway, surgical site hernostasis, rnanage1:nent of her' ~dynamics, and initiation f the peutic
 cooling.

 The Larnollle Ambulance Service crew was disp~tched to Moses Ludingto Em rgency
 Department for mter-fac1ltly transport of the patient atj20:36. They arnved at 20'46 nd w nessed
 the cntkal patient situation and assisted with re:5usc1ta ion.

 I arno1He Ambulance Service left Moses Ludington ,mergency Depanment with he p tient at
 23.00 and a,rived at Fletcher Allen Health Care Erner ency Department at 23·55

 Hypoxemic respiratory fa;\lure, shock and persistent( coma were recognized in t e em rgency
 depmtment and following hospital admission at Fletch/,r Allen Health Care.

 ENT und anesthesia laryngoscopy attempts rcveale~ distorted anatomy and di ficult airway
 visualization with InitiaJ! failed attempts at orotrhcheal intubation. Anesthe a pe ormed
 orotracheaJ intubatlon wit~ assistance: of an airvvay bo 'gie.
Serial exams and imaging in the hospital were consislent with anoxic brain injury The 'amily
                                                    '
elected withdrawal of life suppmt measures and d!onation     after cardiac death whic was
performed on 4/22/ l 4.                             '
                                                    i




Standard of care
Standard of care for the 'first patient encounter re~uired a complaint focused          histo ' and
examination to evaluate for!treatable or dangerous clinl~al conditions. Standard of c   e du g ihe
second patient encounter required recognition of th!, emergency condition of t          iper irway
compromise and management of this condition. Stand~rd of care for the managem           it of pidly
evolving upper airway obstruction required recognitiotj of a difficult airway situati     and use of
an organized airway manag¢ment plan.                   l'
Opinions
I. The totality of care including important case foa ures detailed below met or xcee 'd the
   prevailing standard of qare for this clinical situatio,. Specifically:

2.   The first emergency ctbpartment evaluation was focused and appropriate for he p tient's
     complaint. Cardinal features of serious uppef airway disease, includh          ep    and
     supraglotlitis, were absent. Medical decision m"!{ing highlighted a reasonab e dia nosis.
     ivianagemcnt and discharge instructions were apprC{Prlate.
                                                        i
3,    Patient management during the return emergenc~ department encounter wa            corr t and
      appropriate for the pa1i1mt's clinical condition and &:vailable resources.
     Specifically:                                         '

4.   Ms. Caffey quickly recognized the patient's acuity land suspected supraglottitis. onfo      atory
     diagnostic studies and lnitia! treatment wlth lntrav~nous fluids) antibiotics and tcroi     were
     timely and appropriate.

5. Consultation with the nearest off-site ENT speciali~t, with anticipation oftransf , was timely
     and appropriate.                                   '
                                                        I
6.   Ms. Caffey exhibited insight in recognizing progrefsive patient deterioration ma ked b signs
     of critical airway compromise and impending aiiay obstruction. As such, th deci ion to
     <lclay patient transfer !and attend to the patient', impending and life threat ning        irway
     obstruction was prudent and exemplified good me ical judgment.
                                                        I
7.   Real-time discussion "Vfith the off-site ENT speci~iist corroborated this plan. T ere      ere no
     additional on-site prov~~ers with more experience t handle the situation,

8.   The team appropriate!)! recognized the patient's cl nica[ features and anticipate com icated
     upper aln-vay anatomy ~nd difficult airway manage 11ent.

9.   The team quickly developed a thoughtful stew- ise airway management pla             that    tarted
     with awake anesthetized video laryngoscopy. Inadjequate airway visualization,       d co   tinued
     patient deterioration r~presented a forced to act jscenarlo. Rapid sequence i      ubati   n was
     undertaken to optimi.ie Iaiyngoscopy view with! a double set-up approach           nco      rating
     preparation for emergency cricothyrotomy. Thei patient's anterior neck Ian         mar       were
      lde«<ifiod Md "mrlsed 'p,im to """'""'"' oirnol m"™''"'~'- Ahhe,gJ, oo pliw               a, ilie
   airway plan was executed "in the anticipated seque 1ce based on airway finding and atient
   condition. Bag-valve~mask was attempted during jand between airway maneu rs.         r the
   plan, cricothyrotomy was attempted following faile~ laryngoscopy and thirteen  inute prior
   to cardiac arrest.                                '
                                                        '
                                                        ' managemenl was recogni
l 0. The high risk of patierit deterioration during airwry                               ed a riori.
     Deterioration, includin~ cardiac arrest~ does not Dtpresent a deficiency in med     cal d cision
     making, preparation or technical proficiency. Rath~r, the management of this rar     and , p·idly
     evolving emergency ill$strate a thoughtful and deli~erate strategy and plan exect   ion.
                                                        I
11. Timely and appropriate post-intubation and post-cardiac arrest care ti t i ·luded
    cardiopulmonary support and therapeutic cooling e~emplifies detailed attention this -ritical
    patient.                                         '
                                                        l
Ms. Caffrey exhibited rcasbnable and appropriate me~ical judgment in the manag ment f this
patient. 1 believe a reasonably prudent medical provid~r would make the same decis ons a d take
tbese same actions under siinilar circumstances,       1


'fhese opinions may be revised based on additional case facts and infonnation             at b comes
available.

Pertinent literature and exhibits:
Woods, CR. Epiglottits (supraglottitis): Clinical featur sand diagnosis
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Manual of Emergency Airway Management, 4'" Ed. Li pincott, Williams and Wilki s, 20

Additional exhibits may be provided.




 Sincerely.


 Alan C. Heffner, MD
EXHIBIT B
                               Alan C. Heffner, MD

Personal
Address       Carolinas Medical Center
               I000 Blythe Blvd.
              MEB 5, Department of Internal Medicine
              Charlotte, NC .28232-2861
              (704) 335-3165
              Alan.heffner@carolinashealthcare.or-g




Birthdate
              Gainesboro, TN; Jackson County

Citizenship   United States of America

Education
Fellowship    University of Pittsburgh Medical Center                 7/2005-6/2007
              Pittsburgh, PA
              Department of Critical Care Medicine
              Multidisciplinary Critical Care Training Program

              NIH National Research Service Award (T-32) Fellowship   8/2006-6/2007
              University of Pittsburgh Medical Center
              Department of Critical Care Medicine

[nternship    Carolinas Medical Center                                7/1997-7/2000
Residency     Charlotte, NC
              Oepa1tment of Emergency Medicine
                 • Chief Resident 1999-2000

Medical       Medical College of Virginia                             8/1993-6/ l 997
              Virginia Commonwealth University, Richmond, VA

College       James Madison University                                8/1988-6/ I992
              Harrisonburg, VA
              B.S. Biology




                                                                      AC Heffner CV I
Appointments
Current:
Medical-Surgical lntensivist                  Co-Director of Critical Care
Emergency Physician                           Director of ECMO Services
                                              HealthCare System Sepsis Medical Director

Carolinas Medical Center                                                    7/2007-present
Pulmonary and Critical Care Consultants
Department oflnternal Medicine
Department of Emergency Medicine

Surgical Critical Care Fellowship Faculty                                   20 I 0-present

Professor of Internal Medicine and Emergency Medicine                       20 17-present
Carolinas HealthCare System

Associate Professor at Carolinas HealthCare System                          2013-2017
Assistant Professor at Carolinas HealthCare System                          2007-2013

Clinical Associate Professor                                                20 I 3-present
Clinical Assistant Professor                                                2007-2013
University ofN01th Carolina School of Medicine

Mercy Hospital, Pittsburgh, PA                                              7/2006-7/2007
Mercy Critical Care Associates
Medical-surgical lntensivist

Naval Medical Center Portsmouth                                            7/2000-6/2005
Portsmouth, VA
Department of Emergency Medicine
Faculty; Lieutenant Commander
        • Assistant Residency Director and Education Coordinator 2002-2003
        • Intern Coordinator 2000-2002

Medical College of Virginia/ Virginia Commonwealth University               11/2000-8/2003
Richmond, VA
Department of Emergency Medicine
Clinical instructor

Certification
ABEM Internal Medicine - Critical Care Medicine Certification               2013

American Board of Emergency Medicine (ABEM) #200314 Recertification         2011

Neurocritical Care Certificate                                              2010
       United Council for Neurologic Subspecialties (UCNS)

Diploma in Intensive Care Medicine (EDIC)                                   2009
European Society oflntensive Care Medicine (ESICM)




                                                                            AC Heffner CV 2
American Board of Emergency Medicine (ABEM) #200314                             2001

Additional Training
Carolinas HealthCare System Co-Leadership Institute                             2016

Carolinas HealthCare System Physician Leadership Institute                      2013
        Queens University McColl School of Business

Emergency Neurologic Life Support (ENLS)                                        2016,2012

US Marine Corps Mountain Warfare Survival Medicine Training                     2003
US Army Medical Management of Chemical/Biological Casualties Course             2002

Advanced Cardiac Life Support (ACLS)                                            1997-present
      Instructor 2000-2007
Advanced Trauma Life Support (ATLS)                                             1997-2013

Individual Honors and Awards
Fellow of Critical Care Medicine (FCCM)                                                2016
American Academy of Critical Care Medicine
Society of Critical Care Medicine

Lecturer of the Year Award                                                             2015
Integrated Simulation Curriculum Program
UNC School of Medicine - Charlotte Campus

American Academy of Family Physicians (AAFP) Teaching Award                            2015
Resident selection for exemplary teaching

Vanguard Award for medical education                                                   2010
Edwards Lifesciences

Top Doctors in Charlotte                                        2016,2014,2012,2011,2010
Charlotte Magazine, Peer selected

Fellow of the Year                                                                     2006
University of Pittsburgh Medical Center, Department of Critical Care Medicine

Clinical Teaching Recognition Award                                                    2006
School of Medicine, University of Pittsburgh

Outstanding Faculty Teaching Award                                                     2005
Naval Medical Center Portsmouth, Department of Emergency Medicine

Outstanding Faculty Teaching Award                                                     2004
Naval Medical Center Portsmouth, Department of Emergency Medicine

Navy and Marine Corps Commendation Medal                                               2004
For contributions as faculty; Naval Medical Center Portsmouth




                                                                                AC Heffner CV 3
Outstanding Faculty Teaching Award                                                2003
Naval Medical Center Portsmouth, Department of Emergency Medicine

SAEM Clinical Pathological Case (CPC) Competition                                 2003
Best Discussant; Regional Semi-Finalist

Combat Action Ribbon                                                              2002
Navy and Marine Corps Achievement Medal
Operation Enduring Freedom, Afghanistan

Hospital Physician Teacher of the Year                                            2001
Naval Medical Center Portsmouth

Outstanding Resident Teaching Award                                               2000
Carolinas Medical Center, Department of Emergency Medicine

Alpha Omega Alpha Honor Medical Society                                           1996
       Student president, Brown-Sequard Chapter; 1996-1997

MCV School of Medicine Aesculapian Scholar                                        1995
Sidney-Barham Scholarship Award                                                   1995
Aubrey H. Straus Microbiology Award                                               1995
Adolph D. Williams Scholarship Award (highest class rank)                         1994

Institutional Honors and Awards
Sepsis Heroes Award                                                               2015
Sepsis Alliance

ELSO Award for Excellence in Life Support                                         2014
Extracorporeal Life Support Organization (ELSO)

ELSO Award for Excellence in Life Support                                         2012
Extracorporeal Life Support Organization (ELSO)

Joint Commission Ernest Amory Cadman Award for                                    2008
Carolinas Medical Center Code Sepsis program

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     In: Manual of Emergency Airway Management; 5ili Edition
     Walls RM and Murphy MF. Lippincott Williams & Wilkins; In press 2016
39. Noninvasive Ventilation
     Heffner AC, DeB!ieux PMC
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38. Mechanical Ventilation
     Heffner AC, DeBlieux PMC
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     Walls RM and Murphy MF. Lippincott Williams & Wilkins; In press 2016
3 7. Overview of Central Venous Access
     Heffner AC, Androes MP
     In: UpToDate, 2016
36. Thoracentesis
     Jefferson B, Heffner AC
     ln: lnterventional Critical Care: A manual for Advanced Care Practitioners
     Taylor D et al. Springer International, I st Ed, 2016
35. Complicated Skin and Soft Tissue Infections
     Carlson CG, Heffner AC
     In: Acute Critical Care, I st Ed
     Shiber Jet al. Springer Press; In press 2016
34. Fluid Management in Critical Illness
     Heffner AC, Robinson MT
     In: Emergency Department Resuscitation of the Critically Ill; 2"d Edition
     Winters ME et al. American College of Emergency Physicians (ACEP); In press 2016
33. Severe Sepsis and Septic Shock
     Heffner AC
     In: Emergency Department Resuscitation of the Critically Ill; 2"" Edition
     Winters ME et al. American College of Emergency Physicians (ACEP); In press 2016
32. Fluid Management of Critical Illness
     Heffner AC, Robinson MT
     In: Critical Care Emergency Medicine; 2"' Edition
     Farcy DA et al. McGraw-Hill Professional, 2016
3 I. Extracorporeal Life Support
     Farcy DA, Heffner AC, Napolitano L
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26. Placement of Femoral Venous Catheters
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                                                                   AC Heflner CV 6
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     American College of Emergency Physicians (ACEP); 2011
14. Fluid Management in Critical Illness
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5. Acid-Base Disorders
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     In: Emergency Medicine, I st Edition
     Adams JG et al. Elsevier Health Sciences; 2008
4. Central Venous Access
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   In: The Clinical Practice of Emergency Medicine, 3'" Edition
   Harwood-Nuss et al. Lippincott Williams & Wilkins; 2001

Refereed Original Contributions
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21. Urinary obstruction is a common and important complication of septic shock due to urinary
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    Pearson DA, Wares CM, Mayer KA, Runyon MS, Studnek JR, Kraft KM, Heffner AC
    West J Emerg Med. 2015 Dec;16(7):1007-13. PMID 26759645
19. Outcomes in cardiac arrest patients due to toxic exposure treated with therapeutic
    hypothermia
    Modisett KL, Walsh SJ, Heffner AC, et al.
    J Med Tox. 2016 Feb 8; Epub ahead of print. PMID 26856349
18. Early treatment of severe acute respiratory distress syndrome
    Przybsz TM, Heffner AC
    Emerg Med Clin North Am. 2016 Feb;(34)1: 1-14. PMID 26614238
17. Part I 0: Special Circumstances of Resuscitation: 2015 American Heart Association Guidelines
    Update for Cardiopulmonary Resuscitation and Emergency Cardiovascular Care
    Lavonas EJ, Drennan IR, Gabrielli A, Heffner AC, Hoyte CO, Orkin AM, Sawyer KN,
    Donnino WM
    Circulation. 2015 Nov; 132(18 Suppl 2):S501-18. PMID 26472998
16. Effect ofprehospital initiation of therapeutic hypothermia in adults with cardiac arrest on time-
    to-target temperature
    Schenfeld EM, Studnek, J, Heffner AC, et al.
    Can J Emerg Med. 2015 May 1; 17(3):240-247. PMID 26034909
15. Cardiac arrest with initial rhythm of pulseless electrical activity: do rhythm characteristics
    correlate with outcome?
    Hauck M, Studnek, J, Heffner AC, et al.
    Am J Emerg Med. 2015 July33(7);891-894. PMID 25943040
14. ED prognostication of comatose of comatose cardiac arrest patients undergoing therapeutic
    hypothermia is unreliable
    Wares CM, Heffner AC, Ward SL, et al.
    Am J Emerg Med. Jun 33(6);802-806. PMID 25858162




                                                                                   AC Heffner CV 8
13. Incidence and factors associated with cardiac arrest complicating emergency airway
    management
    Heffner AC, Swords DS, Neale MN, et al.
    Resuscitation. 2013 Nov; 84(1 !): 1500-1504. PMID 23911630
12. Practical Aspects of Post Cardiac Arrest Therapeutic Hypothermia
    Pearson DA, Heffner AC
    EM Critical Care 2013 June; 3(3).
11. Whole blood lactate kinetics in patients undergoing quantitative resuscitation for severe sepsis
    and septic shock
    Puskarich MA, Trzeciak S, Shapiro NI, et al. (#5)
    Chest. 2013. 142(6):1548-1553. PMID 23740148
I0. Regionalization of Post-Cardiac Arrest Care: Implementation of a Cardiac Resuscitation Center
    Heffner AC, Pearson DA, Nussbaum M, Jones AE
    Amer Heart Journal. 2012 Oct; 164(4):493-501. PMID 23067906
9. Predictors of the complication of post-intubation hypotension during emergency airway
    management
    Heffner AC, Swords D, Nussbaum M, Kline JA, Jones AE
    J Crit Care. 2012 July; 27(6):587-593. PMID 22762924
8. Prognostic value and agreement of achieving lactate clearance or central venous oxygen
    saturation goals during early sepsis resuscitation
    Puskarich MA, Trzeciak S, Shapiro NI, et al (#5)
    Acad Emergency Med. 2012; 19(3):252-258. PMID 22435856
7. The frequency and significance of post-intubation hypotension during emergency
    airway management
    Heffner AC, Swords, D, Kline JA, Jones AE
    JCrit Care. 2012 Aug; 27(4):417.e9-13. PMID 22033053
6. Outcomes of patients undergoing early sepsis resuscitation for cryptic shock compared to overt
    shock
    Puskarich MA, Trzeciak S, Shapiro NI, et al (#4)
    Resuscitation. 2011 ;(82): 1289-1293. PMID 21752522
5. The association between intra-arrest therapeutic hypothermia and return of spontaneous
    circulation among individuals experiencing out of hospital cardiac arrest.
    Garrett JS, Studnek JR, Blackwell T, et al (#6)
    Resuscitation. 2011 ;82(1 ):21-25.
4. Etiology of illness in patients admitted to the hospital from the emergency department with
    severe sepsis.
    Heffner AC, Horton JM, Marchick MR, Jones AE
    Clin Infect Dis. 2010 Mar 15;50(6):814-20.
3. The effects ofa quantitative resuscitation strategy on mortality in patients with sepsis:
    A meta-analysis.
    Jones AE, Brown M, Trzeciak S, et al (#6)
    Crit Care Med. 2008;36(10):2734-9.
2. Characteristics of Women with Fetal Loss in Symptomatic First Trimester Pregnancies with
    Documented Fetal Cardiac Activity
    Juliano M, Dabulis S, Heffner A
    Ann Em erg Med. 2008 Aug; 52(2): 143-7.
I. Role of the Peripheral Intravenous Catheter in False-Positive D-Dimer Testing
    Heffner A, Kline J
    Acad Emerg Med. 2001 Feb;8(2): I 03-6.




                                                                                  AC Heffner CV 9
Original Contributions - Case Reports Reviewed
5. Successful use of intra-arrest thrombolysis for electrical storm due to acute myocardial
   infarction
   Reyner K, Heffner AC, Garvey L, Tayal V
   Am J Emerg Med. July;33(7):990.e5-8. PMID 25797864
4. Major hemorrhage from hepatic laceration after cardiopulmonary resuscitation
   Zahn G, Haugk M Pearson DA, Heffner AC
   Am J Emerg Med. July;33(7):990.e3-4. PMID 25680562
3. Successful outcome utilizing hypothermia after cardiac arrest in pregnancy
   Rittenberger JC, Kelly E, Jang D, Greer K, Heffner A
   Crit Care Med. 2008;36(4):1354-6. PMID 18379264
2. A Case of Lactation "Bovine" Ketoacidosis
   Heffner AC, Johnson DP
   J Em erg Med. 2007 Nov;35( 4):385-7.
I. Treatment of severe carbon monoxide poisoning using a portable hyperbaric oxygen chamber
   Lueken RJ, Heffner AC, Parks PD
   Ann Emerg Med. 2006 Sep;48(3):3 I9-22.

Editorials
1. Therapeutic Cooling Saves Lives; Time to Get on Board!
   Heffner AC, Winters ME
   Emergency Medicine News. 2012 May;34(5B)
2. Trials stopped early for benefit? Not so fast!
   Heffner AC, Milbrandt EB, Venkataraman R
   Crit Care. 2007 Feb 22;1 l(l):305.

Multi-media Works
4. Fluid Management
   EM Rap Audio Discussion, February 2011
3. Flexible Fiberoptic Intubation
   Airway World Video Module, 2010
2. PhotoStim Visual Diagnosis Cases
   Government Services ACEP Joint Services Symposium, March 2001
1. PhotoStim Visual Diagnosis Cases
   Virginia ACEP Symposium, July 2001

Media Interviews and Contributions
5. How to scale sepsis across an entire health system
    The Advisory Board, Oct 2014
4. Arresting Sepsis Saves Money, Lives
    HealthLeader, June 2014
3. Charlotte Hospital Takes Part in Global Study of Sepsis
    Charlotte National Public Radio (NPR), Nov 2013
2. Omar Carter's Odyssey
    Charlotte Observer, July 2013
1. 'Code Cool' saves woman, unborn child
    WCNC News, June 2010




                                                                            AC Heffner CV I 0
Teaching Record
Course Faculty
Difficult Airway Course - Critical Care™                                        20 15-present
National Course Instructor and Lecturer

Intern Simulation Common Critical Care Curriculum ( 4C) Program                 20 I 4-present
Carolinas HealthCare System, Charlotte, NC

Critical Points TM Early Impact Critical Care                                   2009-present
National Course Instructor

Difficult Airway Course - Emergency TM                                          2007-present
National Course Instructor and Lecturer

Carolinas Emergency Medicine Oral Board Review Course                           2001-2003
Course Instructor, Charlotte, NC

Research Grant Investigation Contributions
7. A Prospective, Randomized, Double-Blind, Multicenter, Phase 3 Study to Assess the Safety
   and Efficacy oflntravenous Ceftolozane/Tazobactam compared with Meropenem in Adult
   Patients with Ventilated Nosocomial Pneumonia (ASPECT)                         4/2016-present
   Industry sponsored grant - Cubist/Merck
   Pl: Polk CM, Role: Sub-Investigator
6. Randomized open label, multicenter, controlled study to assess safety and efficacy ofELAD®
   in subjects with acute alcoholic hepatitis who have failed steroid therapy
   Industry sponsored grant - Vital Therapies Incorporated                        2013-2015
   Pl: deLemos AS, Role: Sub-Investigator
5. L-Carnitine Treatment for Vasopressor Dependent Septic Shock                   20I2-present
   NIH- National Institute of General Medical Sciences; 1R01GM103799-0l
   Pl: Jones AE; Role: Sub-Investigator
4. Procalcitonin Decrease Over 72 Hours and Outcome in Patients with Severe Sepsis or Septic
   Shock                                                                          2011-2014
   Industry sponsored grant - Brahms, GmbH Global Medical Affairs
   Pl: Runyon M; Role: Sub-Investigator
3. Randomized Trial ofTenecteplase to Treat Submassive Pulmonary Embolism
   Investigator Initiated Grant - Genentech                                       2008-2012
   Pl: Kline JA; Role: Co-Investigator
2. L-Carnitine Administration in Early Sepsis                                     2010-2012
   AHA Post-Doctoral Fellow Grant; I0POST356000I
   Pl: Puskarich M, Role; Co-Investigator
I. Rapid Administration of Insulin in Sepsis                                      2009-20 I 0
   Internally funded Grant - Carolinas HealthCare System
   Pl: Jones AE; Role: Co-Investigator




                                                                               AC Heffner CV 11
Professional Activities and Services
Society of Critical Care Medicine (SCCM)
        Abstract Reviewer, 46 th Critical Care Congress                     2016
        Poster Moderator, 45 th Critical Care Congress                      2016
        Abstract Reviewer, 45 th Critical Care Congress                     2015
        Abstract Reviewer, 44 th Critical Care Congress                     2014
        Faculty, 43,·d Critical Care Congress                               2014
        Poster Moderator, 43'' Critical Care Congress                       2014
        Poster Moderator, 42" Critical Care Congress                        2013
        Abstract Reviewer, 42"tl Critical Care Congress                     2012
        Emergency Medicine Section Member at Large                          2012-2015
        Faculty, 41 st Critical Care Congress                               2012
        Poster Moderator, 41'1 Critical Care Congress                       2012
        Abstract Reviewer, 41 st Critical Care Congress                     2011
        Abstract Reviewer, 40th Critical Care Congress                      2010
        Carolinas / Virginias Chapter Board of Directors                    2009-2014
        Fundamental Critical Care Support (FCCS) Instructor                 2008-2012

American College of Emergency Physicians (ACEP)
       Faculty, ACEP Scientific Assembly                                    2016
       Faculty, ACEP Scientific Assembly                                    2014
       Faculty, ACEP Scientific Assembly                                    2013
       Oral Presentation Moderator, ACEP Scientific Assembly                2013
       Faculty, ACEP Scientific Assembly                                    2012
       Poster Moderator, ACEP Scientific Assembly                           2012
       Abstract Reviewer, ACEP Scientific Assembly                          2012

American Heart Association (AHA)
        20 I 5 Guidelines Writing Committee for Cardiopulmonary Resuscitation and Emergency
        Cardiovascular Care                                                   2014-2015
Society of Academic Emergency Medicine (SAEM)
        Clinical Pathologic Case Conference Committee                          2003-2005

Editorial and Review Activities
20. Circulalion                                                              2016
     Invited ad hoc reviewer
19. Canadian Journal of Emergency Medicine                                   2015
     Invited ad hoc reviewer
18. Journal o/Crilica/ Care                                                  20 l 4-present
     Manuscript reviewer
17. The Advisory Board Company                                               2014-present
     Consultant on Advisory Board Sepsis Collaborative
I 6. Circulation                                                             2014
     Invited ad hoc reviewer
15. American Journal of Emergency Medicine                                   2014-present
    Manuscript reviewer
14. Circulation: Cardiovascular Interventions                                2014
    Invited ad hoc reviewer
13. Analgesia and Resuscitalion: Curren/ Research                            20]4
    Invited ad hoc reviewer



                                                                            AC Heffner CV 12
12. Airway Management SciTechnol                               2014
     Invited ad hoc reviewer
11 . International Journal of General Medicine                 2014
     Invited ad hoc reviewer
I 0. Risk Management and Healthcare Policy                     2013
     Invited ad hoc reviewer
9. Elsevier Firs/ Consult                                      2013
    Invited ad hoc reviewer
8. Critical Care Nurse                                         2013
    Invited ad hoc reviewer
7. .Journal of Medical Toxicology                              2011-present
     Manuscript reviewer
6.   .Journal of Emergency Medicine                            2011-present
     Manuscript reviewer
5.   Hospital Practice                                         2011
     Invited ad hoc reviewer
4.   Academic Emergency Medicine                               2010-present
     Manuscript reviewer
3.   McMaster University Online Rating of Evidence (MORE)      2009-present
     Critical care and emergency medicine reviewer
2.   Academic Emergency Medicine                               2007
     Invited ad hoc reviewer
I.   Critical Care Medicine                                    2007-present
     Manuscript reviewer

CHS Committee Activities
Carolinas HealthCare System
        Sepsis Initiative Medical Director                     2013-present
        Critical Care Network Leadership Council               2013-present
        ICU Models of Care; Co-Chair                           20 I I -present

Carolinas Medical Center
        Critical Care Co-Director                              2016-present
        PCCC Critical Care Director                            2016
        Root Cause Analysis Physician Leader                   2016
        Medical Executive Committee                            20 I 6-present
        Sentinel Event Leadership Team                         2013-present
        Neuro-lCU Associate Director                           2012-present
        Neuro-lCU Operations Committee                         20 I 2-present
        Infection Prevention Committee                         20 I 2-present
        Emergency Medicine - Critical Care Curriculum Leader   2012-2014
        Sentinel Event Task Force                              201 I
        Director of ECMO Services                              20 I 0-present
        Medical ICU Medical Director                           2009-present
        Code Blue Committee Chair                              2009-2013
        Rapid Response Team Director                           2009-2013
        Organ and Tissue Donation Committee Co-Chair           2009-2014
        Quality Assessment and Improvement Committee           2009-2013
        Intensive Care Advisory Committee                      2009-2016
        Surgical Critical Care Outcomes Committee              2009-present
        Surgical Critical Care Fellowship Committee            2009-present


                                                               AC Heffner CV 13
       Infection Control Committee                                 2008-2011
       Therapeutic Hypothermia "Code Cool" Co-Director             2007-present
       Code Sepsis Committee Leader                                2007-present
       Trauma Outcomes Committee                                   2007-2014
       Code Blue Committee                                         2007-present
       Organ and Tissue Donation Committee                         2007-present
       Pulmonary & Critical Care Consultants Education Committee   2007-present
       MICU Blood Product Utilization QI Leader                    2007-2009

Pulmonary and Critical Care Consultants
      Critical Care Director                                       2015-present
      Steering Committee                                           2010-present

Naval Medical Center Portsmouth
       Code Blue Committee                                         2000-2003




                                                                   AC Hetrner CV 14
Testimonial History for Alan C. Heffner, MD.


 Year             Lawyer/ Firm                                     Case                                        Topic
 2013             Claire Modlin: McGuire Woods LLP                 v. Gaillard and Baptist Hospital            Post-extubation failure with CA

 2015             Shirley Deluna: Billing, Cochrane, Lyles ...     Silkworth v. Boca Raton Regional Hospital   MVC, L/5 Fx, cord injury

                                                                                                               Flu, MRSA PNA, sepsis, limb
 2016             Jack Gresh: Hall, Booth, Smith, Charleston, SC   Gatrell v. Aiken MC, Carter                 injury
EXHIBIT C
                                                                                                   COLUMBIA COUNTY OFHCE
                                                            March 6, 2017                                20 CAROL':{N ROAD

                                                                                                        VALATIE, NY 12184
Via Email and Regular Mail                                                                                   518-766-3938
Shawn F. Brousseau, Esq.                                                                                  518-766-3896 fax
Napierski, Vandenburgh, Napierski & O'Connor, LLP
296 Washington Avenue Extension
Suite 3
Albany, NY 12203

RE:     Breitenbach v. Nancy Caj]i-ey, et al

Dear Mr. Brousseau:
      I have reviewed the report and economic damages calculations of plaintiffs expert
economist (James Larnbrinos) in the above referenced matter.                   Following are my concerns
regarding Mr. Larnbrinos' report.
        e Mr. Larnbrinos' general methodology is to compare the net income of the
            household without the passing of Ms. Breitenbach with the net income of the
            household with the passing of Ms. Breitenbach. If this approach is used, all items
            of household income must be taken into consideration. While Mr. Lambrinos has
            considered many of the items of income that would have (and will) been paid to
            the household, 1 it's not clear that every item of income has been included. For
            example, Mr. Breitenbach most likely has a retirement account/benefit through his
            law practice that will generate income following his retirement. In addition, Ms.
            Breitenbach may have been a participant in a deferred compensation plan or tax
            sheltered annuity account in her employment as a teacher. Considering that
            personal consumption would be subtracted from these sources of income under
            the scenario in which Ms. Breitenbach is alive, to the extent that such sources of
            income (or others) have been omitted from the analysis, Mr. Larnbrinos has
             overstated the economic losses to the household.
        •    Mr. Larnbrinos has made a tax adjustment to Mr. and Ms. Breitenbach's projected
             earnmgs.     However, he has not made an adjustment to the retirement period
             sources of income, ail of which would be subject to some level of income tax.


1Mr. and Ms. Breitenbach's earnings; Mr. and M~. Breitenbacb's Social Security benefits; and Ms.
Breitenbach's Teachers' Retirement System pension.
Breitenbach v. Nancy Caffrey, et al
March 6, 2017
Page Two


          e    In projecting Ms. Breitenbach's earnings had she lived, Mr. Lambrinos has
               included an $80,000 payment for unused sick leave. No foundation or proof that
               Ms. Breitenbach would have qualified for and received this payment is provided.
          •    There is no foundation or evidence provided to support the various Social Security
               benefit calculations included in Mr. Lambrinos' report. Each individual's benefit
               is unique based on their own specific employment and earnings history. In order
               to reliably estimate the Social Security benefits in this case, Mr. Lambrinos has to
               have relied upon either (a) Mr. and Ms. Breitenbach's lifetime earnings history
               and/or (b)      some benefit projections prepared by the           Social Security
               Administration. To date, nothing has been provided to support Mr. Lambrinos'
               calculations or that allow for verification of the accuracy of his Social Security
               benefit calculations.
           •   The personal consumption offset has been performed incorrectly by Mr.
               Lambrinos. The study Mr. Lambrinos relied upon reports personal consumption
               percentages for various types of husband/wife households at various household
               income levels. The income levels in the study are expressed in 2004-2005 dollars.
               However, Mr. Lambrinos has failed to deflate his future household income
               projections to 2004-2005 dollars. The impact of this error is that Ms.
               Breitenbach' s personal consumption has been underestimated, thus resulting in
               the economic damages being overstated.
           •   In addition, it appears that Mr. Lambrinos has used the personal consumption
               figures for wives in "husband and wife only households with one working
               spouse." While this would apply for a few years, at some point both Mr. and Ms.
               Breitenbach would have been retired. At that point, Mr. Lambrinos should have
               used the personal consumption figures for wives in "husband and wife only
               households with neither spouse working." 2 The impact of this error is that Ms.
               Breitenbach' s personal consumption has been underestimated, thus resulting in
               the economic damages being overstated.



2   For which data is reported in the same study relied upon by Mr. Lambrinos.
Breitenbach v. Nancy Caffrey, et al
March 6, 2017
Page Three


       •    The estimate of lost household services 1s without solid foundation.            Mr.
            Lambrinos has relied upon a statistical study to estimate the value of the
            household services that were being provided by Ms. Breitenbach. As with other
            elements of economic damages calculations, information specific to the individual
            in question should be relied upon whenever possible. The extent and/or nature of
            the household services provided by Ms. Breitenbach to the household prior to her
            death could have been substantially less than the services performed by persons in
            the study upon which Mr. Lambrinos relied. With Mr. Breitenbach available to
            provide information there is no reason to rely upon a statistical study of other
            persons.
       •    In addition, Mr. Lambrinos has projected the value of Ms. Breitenbach's
        4   household services through the end of Mr. Breitenbach's life expectancy. At that
            time, Ms. Breitenbach would have been 82 years of age. In my opinion this is
            speculative when one takes into consideration the physical limitations and/or
            changes in lifestyle (moving to apartments, retirement communities, condos or
            smaller, less maintenance-intensive homes) that often occur as people age. The
            result is that for many people, the extent of household services can be significantly
            reduced as they age.
        In sunrmary, Mr. Lambrinos' report and calculations suffer from a number of
foundational issues and methodological inconsistencies and errors.
        In preparing this review, I was provided with Mr. Lambrinos' report dated January 26,
2017; the Breitenbach's income tax returns from 2013 through 2015; Ms. Breitenbach's June 30,
2013 New York State Teachers' Retirement System Benefit Profile; and an Estimate of Annual
Service Retirement Benefits prepared by the New York State Teachers' Retirement System.
        I can be reached at (518) 766-3938 if you have any questions.

                                                         Sincerely,
                                                         V:~(~ti9n ~~o~Jfe Group, LLC
                                                         ):./f.y)n   ;~IJ~
                                                         Kevin R. Decker, Economist
                                                         Partner
                  CERTIFICATION & COMPLIANCE WITH RULE 26



      I, Kevin R. Decker, Economist, in compliance with the conditions of Rule 26 of the Rules
of Civil Procedure, hereby certify the following to be true to the best of my belief and
knowledge:


   I was retained by Napierski, Vandenburgh, Napierski & O'Connor, LLP to review the
   economic damages report/calculations prepared by plaintiff's expert economist in the matter
   of Breitenbach v. Nancy Caffrey, et al.


   This letter report contains a complete statement of all opinions I currently hold with regard to
   the economic damages report/calculations prepared by plaintiffs expert as well as the basis
   and reasons for these opinions. All such opinions were made to a reasonable degree of
   economic certainty.


   Neither my firm nor I have any interest in this matter.


   The compensation paid for this analysis is not contingent upon either the amount of appraised
   value determined in this report or the outcome of any negotiations or litigation pertaining to
   this matter. I am being paid $200/hour for research and analysis and $200/hour for time
   involved in any testimony that may be required.


   My qualifications as well as a list of cases in which I have memory of testifying as an expert
   in the past four years are attached.



                                                                      ~:~     ;:21}e.~----····
                                                                      Kevin R. Decker, Economist
                                                                                    March 6, 2017
EXHIBIT D
                                           Vita of
                                      Kevin R. Decker



EDUCATION
M.A., Economics, State University of New York at Albany (also B.A.)


GENERAL EXPERIENCE
Mr. Decker is a partner in Valuation Resource Group and directs the economic research of
Decker Economics, an economic consulting firm. Mr. Decker serves as consultant to
government, business, labor and professional organizations on issues relating to economic and
fiscal impact studies, labor contract negotiations and arbitration, economic development, and
taxation. Mr. Decker also provides analysis and expert testimony to the legal profession,
including calculations of economic loss in personal injury and wrongful death cases, and
valuations of pensions, professional degrees and enhanced earnings capacity in matrimonial
matters.


1999-present        Valuation Resource Group, LLC, Partner

1987-present        Decker Economics, President.

1986-1991           American Economics Group, Inc., Vice-President for Fiscal Research.
                    Responsible for all aspects of public sector fiscal research and analysis,
                    preparation of comprehensive economic and financial studies for public and
                    private sector clients, tax legislation analysis and related computer and
                    statistical applications.

1978-1986           deSeve Economics Associates, Inc., Economist/Director of Municipal
                    Analysis. Responsible for analysis of municipal credit condition, municipal
                    labor relations, and market analysis. Also responsible for general economic
                    and financial research and computer applications to a variety of economic
                    analysis.



MISCELLANEOUS

•    Adjunct Professor of Economics. The Sage Colleges, Albany NY (1992-2013)

,.   Memberships:     National Association of Forensic Economics
                      American Academy of Economic and Financial Experts
                      American Economic Association (1979- 2008)
                       DEMONSTRATED TECHNICAL EXPERTISE



FORENSIC AND LITIGATION ECONOMICS

Calculation of Economic Damages in Personal Injury; Wrongful Death and Wrongful
Termination Litigation

       Determination of lost earnings and benefits for individuals injured, deceased or claiming
wrongful termination. Advise plaintiff and defense attorneys on economic methodology and
provide testimony in court.    Participated in the development of self-documenting, companion
software to an Economic/Hedonic Damages text published by Anderson Publishing Co.


Valuation of Pensions, Professional Degrees/Licenses and Enhanced Earnings Capacity

       Determination of present value of prospective and in-payment pension/retirement benefits
covering a variety of public and private sector retirement plans.      Determination of enhanced
earnings capacity from the attainment of professional degrees/licenses. Provide expert testimony in
court as well as act in advisory role to attorneys on economic methodology and issues.



LABOR ECONOMICS
Analysis and Expert Testimony in Interest Arbitration Cases

       For public sector labor arbitrations, preparation of comprehensive analysis and testimony
on the fiscal condition of the municipality, the local economic base and comparative wage and
benefit levels. Mr. Decker has provided expert economic testimony in arbitration and fact-finding
proceedings in cases involving police and fire bargaining units in major cities, large suburban
counties and other municipalities throughout New York State.


Assessment of Privatization Proposals

       Provided analysis of past experience with and future proposals for privatization in the City
of Schenectady involving the City's sewer and water operations. Baseline expenditure projections
were compared with actual experience under privatization to assess the long-term cost impacts on
the City. Recent expenditure trends in municipal-run department were examined and compared
with trends in the privatized function.




                                                                                  Kevin Decker
Analysis of New York State's Binding Arbitration Statute

       Prepared a comprehensive report examining New York State's statnte providing for binding
arbitration for municipal police and fire personnel. Report examined the relative frequency of
binding arbitration; the relationship between public safety costs and trends in property tax rates and
general fund balances; compared recent trends in police and firefighter salaries awarded through
arbitration with negotiated salaries of police, firefighters and teachers; and examined the arbitration
panel's reasoning behind salary and benefits awards.



ECONOMIC AND FISCAL IMPACT STUDIES


Regional Economic Impact Assessment of a Proposed Waste-to-Energy Facility

        Determined the economic and fiscal impacts on the Albany Region of a proposed waste-to-
energy and recycling facility in Green Island, New York The analysis included estimates of direct
and indirect local earnings and employment generated and increased tax and other fiscal benefits
accruing to Green Island and the local region. The study also explored issues regarding local
property value impacts; infrastructure deterioration; the impact on other regional solid waste plans;
and the plant's capacity for new power generation.


Economic Benefits From Park Development and Riverfront Reclamation Projects

        Evaluated the economic, fiscal and community benefits from proposed developments of
Urban Cultnral Parks in Saratoga Springs, New York and Kingston, New York and from proposed
park development and riverfront reclamation projects in Jamestown, New York and Schodack,
New York.     The studies included estimates of visitor traffic to the proposed facilities; local
investment, employment and earnings generated; increased tax revenues to the municipalities; an
evaluation of proposed development strategies; and an inventory of federal, state and local
development assistance.


Analysis of Single-Family Housing Industry in New York State

        Analyzed the economic and fiscal impacts of the single family housing segment of the real
estate industry in New York State for the New York State Association of Realtors. Estimated the
impact of the industry on employment, earnings and economic output in New York State.
Estimates were also developed of state and local taxes generated by this segment of the real estate
industry.



                                                                                     Kevin Decker
LOCAL ECONOMIC ANALYSIS AND DEVELOPMENT


Business Retention and Expansion Findings and Strategies

       Conducted a survey of Rensselaer County employers to determine their attitudes toward
doing business in Rensselaer County. Topics of inquiry included determining relevant factors
behind recent changes in employment; plans for future expansion, relocation or downsizing;
labor/management relations; import/export activity; attitudes toward federal, state and local
programs, services and agencies; and suggestions for improving the county and municipal business
climate. Included in an extensive written report was a detailed analysis of current employment,
including emerging trends, employment by industry, employment by firm size, geographic location
of employment within the county and prospects for future growth.      A major component of the
report was the development of a series of recommendations to foster business retention and
expansion within the County.


Analysis of Employment and Unemployment Trends in Rensselaer County

       Compiled and analyzed employment and unemployment data for the 1982-1996 time
period. Detailed industry data were examined for analysis of trends in changes in employment.
Identified Rensselaer County's entry and recovery from recent national recession.      Developed
innovative technique to allow for meaningful comparison of unemployment rates between
localities over an extended time period.



ENVIRONMENTAL/LAND USE ECONOMICS


Property Value and Other Community Impacts of "Undesirable" Facilities

       For a proposed rock quarry/mining operation in rural Rensselaer County (New York),
performed an economic assessment of the impact on the community.            Analysis included an
assessment of the impact on local property values; increased demand on municipally-provided
public services; net employment effects; and likely tax revenues. Testimony regarding the negative
impact of dust on surrounding property values and businesses was incorporated into final DEC
report that resulted in denial of mining permit.




                                                                                Kevin Decker
 EXPERT TESTIMONY IN THE LAST FOUR YEARS - KEVIN DECKER


I. Personal Injury/Wrongful Death/ Wrongful Termination Cases

       a. DaJuan McCall v. St. Paul's Community Baptist Church; Albany County, NY
          Supreme Court; Law Office of Edward P. Ryan; December 2016 (Plaintiff)

       b. Carlos Lemus v. Olimpia Pelosi; Law Office of Edward P. Ryan; February 2016
          (Plaintiff); Arbitration

       c. Joseph DiNuzzo v. Mabel Martinez; Saratoga County, NY Supreme Court; Law
          Office of Edward P. Ryan; June 2015 (Plaintiff)

       d. Estate of Arthur Mota v. Andrew Shannahan; New York County, NY Supreme
          Court; Law Office of Michael P. Delaney; April 2015 (Plaintiff)

       e. Crystal Davis v. Mark D. Collins and John E. Collins; Law Office of Edward P.
          Ryan; January 2015 (Plaintiff); Arbitration

       f. Jane Barnard v. Main Street American Group; McNamee, Lochner, Titus &
          Williams, P.C.; July 2014 (Plaintiff); New York SUM Arbitration

       g. Estate of Joshua Maloney v. Eaton Corporation and George Swanson; Rensselaer
          County NY Supreme Court; Law Office of Edward Ryan; May 2013 (Plaintiff)


IL Matrimonial-Pension/Retirement Valuations

       a. Vosteen v. Vosteen; December 2016; Fulton County, NY Supreme Court; Lorman
          Law Firm.

       b. McCoy v. McCoy; May 2016; Chittenden County, VT Superior Court; Broadfoot
          Law Firm.

       c. Spinelli v. Spinelli; March 2014; Warren County, NY Supreme Court; Stanclift,
          Ludemann & McMorris, P.C.

       d. Barra v. Barra; December 2013; Albany County Supreme Court, NY; Assaf &
          Siegal, PLLC




                                                                            Kevin Decker
